        Case 2:21-cv-01536-AMM Document 103 Filed 01/25/22 Page 1 of 27                              FILED
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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

BOBBY SINGLETON, et al.,                        )
                                                )
        Plaintiffs,                             )
                                                )     Civil Action No.:
v.                                              )     2:21-cv-1291-AMM
                                                )
JOHN H. MERRILL, in his                         )     THREE-JUDGE COURT
official capacity as Alabama                    )
Secretary of State, et al.                      )
                                                )
        Defendants.                             )

EVAN MILLIGAN, et al.,                          )
                                                )
        Plaintiffs,                             )
                                                )     Civil Action No.:
v.                                              )     2:21-cv-1530-AMM
                                                )
JOHN H. MERRILL, in his                         )     THREE-JUDGE COURT
official capacity as Alabama                    )
Secretary of State, et al.                      )
                                                )
        Defendants.                             )

MARCUS CASTER, et al.,                          )
                                                )
        Plaintiffs,                             )
                                                )     Civil Action No.:
v.                                              )     2:21-cv-1536-AMM
                                                )
JOHN H. MERRILL, in his                         )
official capacity as Alabama                    )
Secretary of State,                             )
                                                )
        Defendant.                              )
                               DEFENDANTS’ EMERGENCY
                       MOTION FOR STAY PENDING APPEAL1


1
  Because the Court granted the same relief to the Caster and Milligan Plaintiffs and entered the
same preliminary injunction order in their cases, Defendants will file an identical copy of this
document in both Caster and Milligan.
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          On January 24, 2022, this Court issued an order granting a preliminary injunc-

tion based on the Voting Rights Act Section 2 claims of the Caster and Milligan

Plaintiffs. See Milligan DE107, see also Caster DE101. As counsel for the Singleton

Plaintiffs explained in closing, the Court’s decision is likely not only to affect one

upcoming election, but could become “the benchmark for redrawing congressional

districts probably for several more decades.” Tr. 1903:5-12.2 That should have been

reason enough to decline granting extraordinary relief at the preliminary-injunction

stage following just two months of litigation at a breakneck pace and with limited

factfinding.

          But more significantly, the Order has taken Section 2 to a new (and likely

unconstitutional) place, by blessing illustrative plans and demanding a remedy that

concededly sacrifices traditional race-neutral redistricting principles to racial con-

siderations. The Order will require race to be used at all times, in all places, and for

all districts. The Order never grappled with the stunning concession by Plaintiffs that

when their expert, Dr. Duchin, did not include race as a consideration in her map-

making algorithms, not a single map of two million race-neutral maps came back

with two majority-black districts. Tr. 682:3-14. In other words, only if Alabama had




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    “Tr.” cites refer to the transcript of the preliminary injunction hearing.
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permitted race to predominate (to the exclusion of other redistricting criteria), could

Alabama have drawn two majority-black districts.

       But more significantly, the Order has taken Section 2 to a new (and likely

unconstitutional) place, by blessing illustrative plans and demanding a remedy that

concededly sacrifices traditional non-racial redistricting principles to racial consid-

erations. While the Court recounted how Dr. Moon Duchin’s “algorithms ‘found

plans with two majority-[B]lack districts in literally thousands of ways’” when the

algorithm was programmed to prioritize those racial targets, Op. 56, the Court never

grappled with the stunning concession that when Dr. Duchin removed her racial

preference from the equation and programmed the algorithm to draw two million

versions of Alabama’s congressional maps in accordance with only a few traditional

non-racial districting criteria, not one map came back with two majority-black dis-

tricts. Tr. 682:3-14. Dr. Kosuke Imai reached the same conclusion: based on the

political geography of Alabama and the broad dispersion of black Alabamians, it is

essentially impossible to draw a map like those presented by Plaintiffs unless tradi-

tional districting principles give way to race. MX1:7-9 ¶¶ 18-19, 26; Tr. 235:12-

236:18 (“conclud[ing] that race predominate[s]” where Districts 2 and 7 exceed 50%

BVAP).

       The Court’s Order concludes that such predominance is permissible under

the Voting Rights Act. That conclusion is an erroneous interpretation of the Voting

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Rights Act (at best) and an unconstitutional application of the Voting Rights Act (at

worst). Under the Court’s order, even if the Legislature had generated two million

maps with race-neutral criteria to assess whether it could find a second majority-

Black district and found not one, it still should have “infuse[d] race into” this redis-

tricting and must forever “infuse race into virtually every redistricting” to come,

“raising serious constitutional questions.” LULAC v. Perry, 548 U.S. 399, 446

(2006) (opinion of Kennedy, J.). That is not the law, and at a minimum, Defendants

should be able to confirm on appeal whether it is before the State’s political destiny

is forever reshaped by federal court order.

      Defendants therefore file this Emergency Motion for Stay Pending Appeal.

To enable Defendants to expeditiously seek a stay on appeal (if necessary) by Janu-

ary 26, 2022, Defendants respectfully requests that the Court issue a ruling on this

Motion by the end of the day today, January 25, 2022.




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                                  INTRODUCTION

      This is the rare Section 2 case in which Plaintiffs have admitted that they can-

not possibly draw a map with an additional majority-minority district unless

traditional redistricting principles are subordinated to race. Indeed, testimony from

Plaintiffs’ experts demonstrates the impossibility of such a map: one expert gener-

ated thirty-thousand congressional maps for Alabama based on several traditional

race-neutral districting principles and another expert—Dr. Duchin—generated two

million. But not one of these two-million-plus race-neutral maps contained two ma-

jority-minority districts. As Plaintiffs themselves concede, to produce maps with two

majority-minority districts, Plaintiffs necessarily must prioritize race at the expense

of traditional race-neutral districting principles. Plaintiffs’ map drawers testified that

they bent or ignored traditional criteria to hit their racial targets. Because “§ 2 does

not require a State to create, on predominantly racial lines, a district that is not ‘rea-

sonably compact,’” Abrams v. Johnson, 521 U.S. 74, 91-92 (1997), the Legislature

was not required to draw a map that—to a mathematical certainty—could not have

been drawn without compromising traditional districting principles to race.

      This emphatically does not mean, as the Court misconceived, that “a remedial

plan” would be rendered “unconstitutional … for attempting to satisfy Gingles I.”

Op. 205. Plaintiffs’ problem is not their subjective intent to draw majority-minority




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districts, but the objective fact that they could not do so without subordinating tradi-

tional districting principles to race. Thus, for example, if the first million of

Plaintiffs’ two million race-neutral maps included two majority-minority districts

and the second million included only one such district, Section 2 might permit Plain-

tiffs to pick from the first group even “if race for its own sake is the overriding reason

for choosing one map over others.” Bethune-Hill v. Va. St. Bd. of Elections, 137 S.

Ct. 788, 799 (2017). But that did not occur here. What Plaintiffs did, but cannot

permissibly do, is rely on a plan that “conflicts with traditional redistricting criteria.”

Id. And the problem for Plaintiffs is that they could not draw any map with two

majority-minority districts “consistent with traditional districting principles.” Davis

v. Chiles, 139 F.3d 1414, 1425 (11th Cir. 1998).

       The race-neutral baseline approach follows from the fact that any “assignment

of voters on the basis of race” is subject to constitutional law’s “strictest scrutiny.”

Miller, 515 U.S. at 915. Section 2 permits race-conscious districting only in a limited

context. Specifically, Section 2 does permit limited racial preference among maps

that honor a State’s “traditional districting principles,” LULAC, 548 U.S. at 433; that

is, a legislature generally may choose a plan with more majority-minority districts

rather than fewer so long as (1) the map honors traditional districting principles, and

(2) to do otherwise would dilute minority voting power. But Section 2 does not per-

mit a legislature (or Plaintiffs) to inject “non-negotiable” (in Dr. Duchin’s words)

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racial preferences into the map-drawing stage and then choose a plan from the suite

of race-based maps subordinating traditional redistricting principles. Plaintiffs’ con-

trary view would take Section 2 beyond its promise of “equal[] … opportunity,” 52

U.S.C. § 10301(b), and “would unnecessarily infuse race into virtually every redis-

tricting, raising serious constitutional questions.” Bartlett v. Strickland, 556 U.S. 1,

20 (2009) (plurality op.). Because “Section 2 does not guarantee minority voters an

electoral advantage,” id., and because Plaintiffs’ maps sacrifice traditional district-

ing criteria to race, their claims fail.

       Plaintiffs’ Section 2 claims fail for additional reasons that will be fleshed out

on appeal, but even if the merits of their claims presented a close call, the equities

would be dispositive. There has been but “a few weeks of discovery and an

abbreviated trial” over “legally and factually complicated” claims. Favors v. Cuomo,

881 F. Supp. 2d 356, 371 (E.D.N.Y. 2012). And were the Court’s order to go into

effect, requiring the State to redraw its maps with the 2022 campaign cycle in full

swing, chaos would ensue. The State would have insufficient time to reassign voters

to new districts; independent candidates would suddenly learn they had been

collecting signatures from the wrong people; and districts would likely be left

unrepresented with no assurance that qualified candidates would decide—within

days—to launch a campaign. Prudence and equity alone therefore require that

Plaintiffs’ motions be denied.

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                            STANDARD OF REVIEW

      Under Federal Rule of Civil Procedure 62(d), “[w]hile an appeal is pending

from an interlocutory order … that grants … an injunction, the court may suspend”

the injunction. In considering whether to stay an injunction pending appeal, courts

weigh the following four factors:

      (1) whether the stay applicant has made a strong showing that he is
          likely to succeed on the merits;
      (2) whether the applicant will be irreparably injured absent a stay;

      (3) whether issuance of the stay will substantially injure the other
          parties interested in the proceeding; and

      (4) where the public interest lies.

Nken v. Holder, 556 U.S. 418, 426 (2009); Swain v. Junior, 958 F.3d 1081, 1088

(11th Cir. 2020) (staying preliminary injunction pending appeal). “The first two

factors are ‘the most critical.’” Swain, 958 F.3d at 1088 (quoting Nken, 556 U.S. at

434). “[W]here the government is the party opposing the … injunction, its interest

and harm merge with the public interest.” Id. at 1091 (citing Nken, 556 U.S. at 435).

Here, all of these factors weigh in favor of granting a stay.

      Moreover, when evaluating challenges to electoral processes “just weeks

before an election,” federal courts must “weigh, in addition to the harms attendant

upon issuance or nonissuance of an injunction, considerations specific to election

cases and its own institutional procedures.” Purcell v. Gonzalez, 549 U.S. 1, 4

(2006).

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                                    ARGUMENT

I.    The Milligan and Caster Plaintiffs Have Not Shown That Their Section 2
      Claims Are Likely to Succeed on the Merits.

             A. Plaintiffs Cannot Satisfy Gingles’s First Precondition.

      The Milligan and Caster Plaintiffs assert that Section 2 of the Voting Rights

Act requires two majority-minority districts where there is currently one. However,

these Plaintiffs’ experts made clear that drawing a two-majority-minority-district

map using traditional, race-neutral districting principles was virtually impossible—

out of two-million race-neutral attempts, not one contained two majority-minority

districts. That should have ended their endeavor.

      Instead, Plaintiffs decided to work backwards. Rather than following

traditional, race-neutral districting criteria and determining whether any such maps

could contain two majority-minority districts, Plaintiffs first drew two majority-

minority districts—that is, they began by granting themselves the relief they seek

under Section 2—and then determined ex post which districting principles they

would (or could) attempt to respect. By looking first to racial quotas and second to

the State’s redistricting guidelines, there is no question that “[r]ace was the criterion

that … could not be compromised.” Shaw II, 517 U.S. at 907; see also Op. 205

(noting Dr. Duchin’s testimony that she considered two majority-Black districts as

‘non-negotiable’”). The crux of Plaintiffs’ argument is that because Section 2

contemplates limited, race-conscious relief, the statute necessarily requires States to

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subordinate non-racial, traditional redistricting criteria to race, and even to inject

racial preferences into each non-racial criterion. This argument, now endorsed by

this Court, is limitless. It permits race to predominate in redistricting at all times, in

all places, and in all districts.

       “The preamble to the Voting Rights Act of 1965 establishes that the central

purpose of the Act is ‘[t]o enforce the fifteenth amendment to the Constitution of the

United States.’” Chisom v. Roemer, 501 U.S. 380, 383 (1991). In accordance with

its constitutional authority under the Fifteenth Amendment, Section 2 of the VRA is

thus a non-discrimination provision; racial equality is the target. Georgia v. Ashcroft,

539 U.S. at 490 (“The purpose of the Voting Rights Act is to prevent discrimination

in the exercise of the electoral franchise and to foster our transformation to a society

that is no longer fixated on race.”).

       To be sure, the statute permits limited race-conscious relief where traditional,

race-neutral districting criteria are already met. It is not, however, the categorical

and limitless exception to the Fourteenth Amendment. It does not provide a map-

drawer carte blanche to prioritize race above traditional criteria and taint the entire

districting process with racial preferences—just what the Court has sanctioned here.

Indeed, this latter interpretation not only runs afoul of Section 2’s non-discrimination

mandate, but also drags the statute headlong into conflict with the Fourteenth

Amendment’s Equal Protection guarantee. See Miller, 515 U.S. at 927 (interpreting

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Section 2 to “command that States engage in presumptively unconstitutional race-

based districting” brings the statute “into tension with the Fourteenth Amendment”).

“Section 2 does not guarantee minority voters an electoral advantage,” Bartlett v.

Strickland, 556 U.S. 1, 20 (2009); where, as here, “minority voters have the same

opportunity to elect their candidate as any other political group with the same relative

voting strength,” the VRA cannot place a race-based thumb on the scale for

Plaintiffs, id. To do so would distort the statute’s plain language, “emphasi[zing] the

word ‘opportunity’ at the expense of the word ‘equally.’” Id.

       In Thornburg v. Gingles, 478 U.S. 30 (1986), the Supreme Court attempted to

chart a constitutional course for Section 2’s provision of limited, race-conscious

relief. To show Section 2 claims are viable, Gingles requires that Plaintiffs first

satisfy three threshold preconditions: “namely (1) that the minority group is

sufficiently large and geographically compact to constitute a majority in a single-

member district, (2) that the minority group is politically cohesive, and (3) that the

white majority votes sufficiently as a bloc to enable it usually to defeat the minority’s

preferred candidate.” Bartlett, 556 U.S. at 8-9 (internal quotation marks omitted).3

       This Court concluded that Plaintiffs may subordinate a State’s traditional

districting principles to race in order to satisfy Gingles’s first precondition, so long


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 Moreover, the Eleventh Circuit requires that plaintiffs in Section 2 litigation “demonstrate the
existence of a proper remedy.” Burton v. City of Belle Glade, 178 F.3d 1175, 1199 (11th Cir.
1999).
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as they do it only “to the extent necessary to determine whether it was possible for

the Milligan plaintiffs and the Caster plaintiffs to state a Section Two claim.” Op.

204. Of course, a Plaintiff must identify as part of Gingles’s first precondition that a

majority-minority district can be drawn. But Gingles does not permit a Plaintiff to

satisfy Gingles 1 by abandoning all redistricting principles. But that is precisely what

occurred here. The uncontested evidence here is that it is impossible to draw two

majority-minority districts in Alabama if one were to consider only race-neutral

redistricting principles. That is dispositive—there can be no clearer indication that

Gingles 1 cannot be satisfied than Plaintiffs’ experts own algorithms. But by

importing into the redistricting process this new “creation of two majority-Black

districts” principle, Op. 57, the Court allowed Plaintiffs to start at the end (i.e., “two

districts must be drawn”) and then work backwards to explain why traditional

districting principles were only somewhat compromised. Only “‘after’ … minority

opportunity to elect” was satisfied did the maps then try to satisfy “‘compactness.’”

Op. 57. The Court thus accepted Plaintiffs’ position that, because Section 2

contemplates some racial considerations in its relief, the statute duly permits nearly

any racial considerations Plaintiffs (or a court) might propose—and requires

legislatures to “infuse race into virtually every redistricting.” Bartlett, 556 U.S. at

21.




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      This position contravenes Supreme Court precedent and collapses the

distinction between permissible race-conscious remedies under Section 2 and

unconstitutional racial gerrymanders. The former permits race-conscious relief only

where plaintiffs demonstrate that redistricting has “result[ed] in a denial or

abridgement of the right … to vote on account of race or color,” 52 U.S.C.

§10301(a), and requires a remedy which honors “traditional districting principles.”

LULAC, 548 U.S. at 433. The latter, however, occurs where these traditional

principles are “subordinated to racial objectives.” Miller, 515 U.S. at 919. The

district court’s interpretation of Section 2 contorts the statute into a permanent

exemption to the Fourteenth Amendment’s Equal Protection guarantees. The VRA

is not an unwritten constitutional amendment. If, as the Court has interpreted here,

the VRA means race-based redistricting is always permissible, then the VRA is

unconstitutional as applied to single-member districts.

      Plaintiffs undertook “serious gerrymandering” by subordinating traditional

redistricting principles to their goal of maximizing black voting power, which is

precisely what “[t]he Voting Rights Act does not require.” Gonzalez v. City of

Aurora, 535 F.3d 594, 600 (7th Cir. 2008) (Easterbrook, J.). And more

fundamentally, Plaintiffs’ position puts the cart before the horse; their task in this

litigation is to show that Alabama has violated Section 2, and only then may this




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Court sanction a race-conscious remedy. Plaintiffs may not presume the truth of

what they are required to prove.

      Plaintiffs’ approach goes well beyond the cynical picture of gerrymandering

“run amok” Justice Kagan painted in her Rucho dissent. 139 S. Ct. at 2520 (Kagan,

J., dissenting). There, Justice Kagan lamented the possibility that “today’s

mapmakers can generate thousands of possibilities at the touch of a key—and then

choose the one giving their party maximum advantage (usually while still meeting

traditional districting requirements).” Rucho,139 S. Ct. at 2513. Here, Dr. Duchin’s

actions would make Justice Kagan’s nefarious mapmaker blush; Dr. Duchin

generated millions of random race-neutral maps, but none provided her preferred

result. Only when she imposed algorithmic requirements to maximize black

Alabamians’ electoral advantage—necessarily reshaping maps at the expense of

race-neutral criteria—did she find maps that hit her racial targets. In Rucho, Justice

Kagan deemed North Carolina’s congressional map an extreme political

gerrymander after an “expert produced 3,000 maps, adhering … to the districting

criteria that the North Carolina redistricting committee had used, other than partisan

advantage,” and every “one of the 3,000 maps would have produced at least one

more Democratic House Member than the State’s actual map.” Rucho,139 S. Ct. at

2518. Those 3,000 maps were enough, in Justice Kagan’s view, to declare the North

Carolina map “an out-out-outlier.” Id. Here, several more “out’s” are warranted,

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given that generating two million maps on grounds other than race failed to generate

even one map with two majority-black district.

      By accepting maps that disregard the State’s traditional redistricting principles

to the extent they conflict with Plaintiffs’ preferred racial quotas, the district court

misconstrued Section 2. The Order endorses maps in which race predominates over

traditional districting principles—that is, maps embodying racial gerrymanders

which the Legislature never could have passed in the first instance—and orders the

Legislature to adopt such a map. See, e.g., Shaw II, 517 U.S. at 907 (racial

gerrymander where “[r]ace was the criterion that … could not be compromised”);

Miller, 515 U.S. at 916 (racial gerrymander where map “subordinated traditional

race-neutral districting principles, including but not limited to compactness,

contiguity, and respect for political subdivisions or communities defined by actual

shared interests, to racial considerations”). Because “[Section] 2 does not require a

State to create, on predominantly racial lines, a district that is not ‘reasonably

compact,’” Bush v. Vera, 517 U.S. 952, 979 (1996), the Court should stay its Order.

             B. Even If Gingles’s First Precondition Permitted Plaintiffs to Sub-
                ordinate Traditional Districting Criteria to Race, Gingles’s
                “Totality of Circumstances” Inquiry Would Prohibit Relief Un-
                der Section 2.
      Only if Plaintiffs can clear Gingles’s threshold hurdles do they then proceed

to Section 2’s “totality of circumstances” inquiry, which demands a holistic

investigation aimed at whether “the political processes … in the State … are not

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equally open to participation by [black Alabamians] in that [they] have less

opportunity than other members of the electorate to participate in the political

process and to elect representatives of their choice.” 52 U.S.C. §10301(b). Under the

statute, this inquiry establishes whether black Alabamians suffer “denial or

abridgement of the right … to vote on account of race or color.” Id. at §10301(a).

       The Legislature did not decline to pass congressional plans resembling

Plaintiffs’ illustrative maps “on account of race or color,” but rather because of

traditional districting principles and basic political geography and demographics.

Indeed, Plaintiffs proved as much; neither Dr. Imai’s tens of thousands of maps nor

Dr. Duchin’s millions of race-neutral maps produced a single two-majority-

minority-district map.

       This Court’s conclusion that the 2021 Map “results in a denial or abridgement

of” Plaintiffs’ rights “on account of race or color” is thus legally erroneous. 52

U.S.C. § 10301(a). Where no iteration of race-neutral districting principles can

produce a map with two majority-minority districts, Plaintiffs cannot show that the

State’s “political processes” for Congressional districting are not “equally open” to

them. In other words, failure to give Plaintiffs’ a race-based preference that no other

similarly sized and dispersed group could expect to receive from a neutral

redistricting process is not failure to treat Plaintiffs equally.




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             C. If Section 2 Requires States to Subordinate Traditional Redis-
                tricting Criteria to Race, Then Section 2 Is Unconstitutional.

      Congress derived its authority to enact the VRA pursuant to the Fifteenth

Amendment, Chisom, 501 U.S. at 383, which guarantees that “[t]he right of citizens

of the United States to vote shall not be denied or abridged by … any State on ac-

count of race, color, or previous condition of servitude,” and permits Congress to

“enforce” its substantive provisions “by appropriate legislation.” U.S. CONST.

amend. XV, §§1-2. Congress may enforce the substantive provisions of the Four-

teenth and Fifteenth Amendments “by creating private remedies against the States

for actual violations of those provisions.” United States v. Georgia, 546 U.S. 151,

158 (2006) (emphasis added). This Court’s interpretation of Section 2 would not

only unmoor the statute from its constitutional authority under the Fifteenth Amend-

ment but also turn the VRA into a tool for race-based “electoral advantage,” creating

“serious constitutional concerns under the Equal Protection Clause.” Bartlett, 556

U.S. at 20-21.

      The Court misinterprets Section 2 as a nearly all-purpose exemption to the

Fourteenth Amendment’s prohibition against race-based sorting. Where, as here, the

Court-ordered remedy is “obviously … created solely to effectuate the perceived

common interests of one racial group,” the court is ordering a racial gerrymander

“altogether antithetical to our system of representative democracy.” Shaw I, 509 U.S.

at 648.

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       The Court did not offer any answer to the critical question of whether daylight

exists between (1) racial gerrymandering repugnant to the Constitution (maps that

conflict with traditional principles because of racial considerations) and (2) the race-

conscious relief (maps that do not conflict with traditional principles but are selected

with an eye toward race) that can be required under Section 2. If Section 2 is consti-

tutional, then necessarily the answer is “Yes.” To hold otherwise would convert

Section 2 into a thoroughgoing exemption to the Fourteenth Amendment; while an

amendment may permanently modify the Constitution, a statute cannot. Yet the

Court collapsed these discrete concepts, holding that Section 2’s limited, highly con-

textual, race-conscious relief permits plaintiffs to subordinate all aspects of

redistricting to race.

       By failing to distinguish race-conscious relief from racial gerrymandering, the

Court interprets Section 2 to “command that States engage in presumptively uncon-

stitutional race-based districting,” which in turn brings the statute “into tension with

the Fourteenth Amendment.” Miller, 515 U.S. at 927. The Court’s interpretation ig-

nores that any “exercise of [Congress’s] Fifteenth Amendment authority even when

otherwise proper still must ‘consist with the letter and spirit of the Constitution.’”

Id. (quoting McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 421 (1819)). Requiring

States’ redistricting processes to bear an “uncomfortable resemblance to political

apartheid,” Shaw I, 509 U.S. at 647, consists with neither.

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   II.   The Balance of Equities Weighs Heavily In Favor Of A Stay.

      A stay is also warranted because this Court’s order at this late hour is inflicting

grave harm on the public interest. “When the massive disruption to the political

process of the [State] is weighed against the harm to plaintiffs of suffering through

one more election based on an allegedly invalid districting scheme, equity requires

that [this Court] deny relief.” Mac Govern v. Connolly, 637 F. Supp. 111, 116 (D.

Mass. 1986) (three-judge court).

      Enjoining the State from using the 2021 Map throws the current election into

chaos and leaves almost no time for maps to be redrawn, hundreds of thousands of

voters to be reassigned to new districts, and thousands of new signatures to be

obtained by candidates and political organizations seeking ballot access. And those

harms will be vastly magnified here given that the State’s 2021 Map largely

preserves preexisting, decades-old districts while making minimal changes to

equalize population, whereas Plaintiffs seek to redraw much of the map.

      Former Representative Byrne testified about the problems with drastically

changing the congressional lines this late in the day. Tr. 1693:16-1694:7. And

Plaintiff Dowdy too recognized the obvious fact that candidates often spend

significant time and money to campaign and meet prospective voters. Tr. 399:16-21.

Add to that now the reality that candidates will have mere days to even consider

whether to run in brand new districts.


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      To pull the rug out from these candidates and their voters in the run-up to an

election requires extraordinary justification. Courts often reject requests to prelimi-

narily enjoin the use of redistricting plans in impending elections, and this Court

should have followed suit here. As those courts have recognized, “elections are com-

plex to administer, and the public interest [is] not … served by a chaotic, last-minute

reordering of ... districts. It is best for candidates and voters to know significantly in

advance of the petition period who may run where.” Favors v. Cuomo, 881 F. Supp.

2d 356, 371 (E.D.N.Y. 2012) (three-judge court) (citing Diaz v. Silver, 932 F. Supp.

462, 466-68 (E.D.N.Y. 1996) (three-judge court)). Thus, “[t]he Supreme Court has

held that an injunction may be inappropriate even when a redistricting plan has ac-

tually been found unconstitutional because of the great difficulty of unwinding and

reworking a state’s entire electoral process.” Id. (citing Reynolds v. Sims, 377 U.S.

533, 585 (1964); Roman v. Sincock, 377 U.S. 695, 709-10 (1964)).

      Relatedly, the Court leaves precious little time for the State to exercise its

sovereign prerogative and craft an appropriate remedy. Drawing new maps takes

time. One expert advises courts that are considering map-drawing themselves to

budget “one month for the drawing of a plan and an additional month for hearings

and potential modifications to it … so that all concerned can proceed in a nonfren-

zied fashion.” Nathaniel Persily, When Judges Carve Democracies: A Primer on




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Court-Drawn Redistricting Plans, 73 Geo. Wash. L. Rev. 1131, 1147-48 (2005). But

a frenzied process is guaranteed by the Court’s order.

        Accordingly, “[s]ince the Reynolds decision, a number of federal courts have

withheld the granting of relief, and even dismissed actions, where an election was

imminent and the election process had already begun.” Pileggi v. Aichele, 843 F.

Supp. 2d 584, 593 (E.D. Pa. 2012) (three-judge court) (collecting cases). Those

serious concerns about timing and administrability apply with full force here. As

Alabama’s Director of Elections Clay Helms has attested, “[t]here are substantial

obstacles to changing the Congressional districts at this late date.” DX7:2. Indeed,

pandemic-related delays to census numbers stalled the redistricting process, in turn

creating a situation in which “local election officials are already under time pressures

created by the fact that the maps were adopted in November, 2021.” Id.

        It is important to recognize that, while the primary election will be held on

May 24, 2022, absentee voting starts on March 30, 2022, which is only weeks away.

And there are all sorts of activities that must be accomplished in advance of that

March 30 deadline, including candidate qualification. Similarly, under Alabama law

political parties must certify their candidates to probate judges and the Secretary of

State by March 9, see Ala. Code §17-13-22, and the Secretary must certify the names

of opposed candidates for state and federal offices by March 11, see id. at §17-13-

5(b).

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      The harms that would flow from enjoining the 2021 Map are varied and

certain. Candidates seeking to run in major party primaries have expended

significant time and money ahead of the January 28 qualifying deadline. A primary

will be required for voters to choose among them. See Ala. Code § 17-13-1. Much

of the time and money spent to engage with potential voters would prove wasted if

those voters are later moved to a different district. One of many reasons “[i]t is best

for candidates and voters to know significantly in advance of the petition period who

may run where.” Favors, 881 F. Supp. 2d at 371.

      For absentee voting to begin on March 30, 2022, DX7:4, ballots must be

finalized and printed in advance. Federal law requires that the ballots of voters

protected by the Uniformed and Overseas Citizens Absentee Voting Act be

transmitted no later than April 9, 2022, if they have been requested by that time.

DX7:4-5; 52 U.S.C. § 20302(a)(8). Where recent experience shows that election

officials struggled to complete the district-assignment process within four months

following remedial redistricting, DX7:4, Plaintiffs have failed to provide any reason

to believe that potentially hundreds of thousands of voters could be swapped among

districts in the three months between this opinion’s issuance and the April 9, 2022

deadline to have absentee ballots for UOCAVA voters out the door for congressional

primary elections.




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      In short, “the election machinery wheels [are] in full rotation,” Graves v. City

of Montgomery, 807 F.Supp.2d 1096, 1112 (M.D. Ala. 2011), and can’t be stopped

without grave damage to the public. That is why courts and redistricting experts have

recognized that a court that must draw a map, “should have as its goal the imposition

of a plan no later than one month before candidates may begin qualifying for the

primary ballot,’ which ‘means that the court should begin drawing its plan about

three months before the beginning of ballot qualification in order to build in time for

possible hearings and adjustments to the plan.’” Favors, 881 F. Supp. 2d at 364

(quoting Persily, When Judges Carve Democracies: A Primer on Court-Drawn

Redistricting Plans, 73 Geo. Wash. L. Rev. at 1147). We are already well past such

timeframes.

      Finally, “[c]ases in which the Supreme Court has found a problem under § 2

all involve transparent gerrymandering that boosts one group’s chances at the

expense of another’s.” Gonzalez, 535 F.3d at 598. But the Guidelines the Alabama

Legislature implemented and the map it enacted are entirely ordinary. The

Legislature did not break sharply from the past to enact a brazen partisan

gerrymander. See Rucho, 139 S. Ct. at 2491 (Republican redistricting committee

chair “explain[ing] that the map was drawn with the aim of electing ten Republicans

and three Democrats because he did ‘not believe it [would be] possible to draw a

map with 11 Republicans and 2 Democrats’”). Nor did the Legislature break up an

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established community of minority voters to take “away [their] opportunity because

[they] were about to exercise it.” LULAC, 548 U.S. at 440.

      All Alabama seeks to do is implement a map that largely carries forward

districts that have existed for half a century and that, since 1992, have been approved

by federal courts and Legislatures controlled first by Democrats and more recently

by Republicans. It may be that at the close of full discovery and a full trial, that this

Court determines that the 2021 Plan nevertheless contains some legal flaw. But just

two months into this litigation, it is not clear that Plaintiffs will prevail. And roughly

two months before absentee voting begins, it is clear that the Court’s order will cause

irreparable harm to Alabama, its aspiring congressional representatives, and the

voters they seek to represent. The Court should stay its preliminary injunction order

pending appeal.

                                   CONCLUSION

      The Court should grant stays pending appeal of its orders granting the Caster

and Milligan Plaintiffs’ motions for preliminary injunction. As noted above, due to

the exigencies imposed by these cases and these orders, and Defendants’ potential

need to seek appellate review on an expedited basis, Defendants respectfully request

that the Court issue a ruling on this stay motion by the end of the day today, January

25.




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                                   Respectfully submitted,

                                   Steve Marshall
                                    Attorney General

                                   /s/ Edmund G. LaCour Jr.
Dorman Walker (ASB-9154-           Edmund G. LaCour Jr. (ASB-9182-U81L)
R81J)                                Solicitor General
BALCH & BINGHAM LLP                A. Barrett Bowdre (ASB-2087-K29V)
Post Office Box 78 (36101)         Thomas A. Wilson (ASB-1494-D25C)
105 Tallapoosa Street, Suite 200    Deputy Solicitors General
Montgomery, AL 36104
Telephone: (334) 269-3138          James W. Davis (ASB-4063-I58J)
Email: dwalker@balch.com            Deputy Attorney General
Counsel for Sen. McClendon         Misty S. Fairbanks Messick (ASB-1813-
and Rep. Pringle                   T71F)
                                   A. Reid Harris (ASB-1624-D29X)
                                   Brenton M. Smith (ASB-1656-X27Q)
                                   Benjamin M. Seiss (ASB-2110-O00W)
                                    Assistant Attorneys General
                                   OFFICE OF THE ATTORNEY GENERAL
                                   STATE OF ALABAMA
                                   501 Washington Avenue
                                   P.O. Box 300152
                                   Montgomery, Alabama 36130-0152
                                   Telephone: (334) 242-7300
                                   Fax: (334) 353-8400
                                   Edmund.LaCour@AlabamaAG.gov
                                   Jim.Davis@AlabamaAG.gov
                                   Ben.Seiss@AlabamaAG.gov
                                   Reid.Harris@AlabamaAG.gov
                                   Brenton.Smith@AlabamaAG.gov

                                   Counsel for Secretary Merrill




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                         CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on January 25, 2022, which will serve all counsel of record.

                                                   /s/Edmund G. LaCour Jr.
                                                   Edmund G. LaCour
                                                   Counsel for Secretary Merrill




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